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13                             UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF J
   themselves and all others similarly situated,           B      IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4339213.1]
          DECLARATION OF J       B      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, J        B      , declare:
 2                 1.      I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.      I was incarcerated in federal prison and was incarcerated at FCI Dublin from
 6 2016 to February 2023.
 7                 3.      FCI Dublin’s inadequate systems for preventing, detecting, and responding
 8 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
 9 and put myself and other incarcerated persons at substantial risk of serious harm from
10 sexual assault, harassment, and retaliation from staff.
11                 4.      I was the roommate of M            H     , one of Ray Garcia’s “girlfriends,” for
12 about five years. During 2019 and 2020, Mr. Garcia began to have a “relationship” with
13 Ms. H                . This relationship deeply affected me. I would have to leave my room so he
14 could come in. I witnessed Mr. Garcia grab Ms. H                     in a sexual manner. I also
15 witnessed Ms. H                 passing letters to him in a “cop out.” At other times, I saw Mr. Garcia
16 grab Ms. H                in the warehouse; he was able to touch her there because there are no
17 cameras in that area of the facility.
18                 5.      I watched Ms. H         ’s mental health deteriorate due to her close relationship
19 with Mr. Garcia; she had been incarcerated for many years before the relationship started,
20 and he promised her a family with him after she got out; she was very vulnerable and her
21 whole heart was set on that idea. Eventually, she noticed that he was also talking to other
22 women and when she realized that he was not with her only, things started to deteriorate
23 for her in terms of her wellbeing and mental health.
24                 6.      I used to work in visiting, and we would have to go and get supplies from
25 Safety. Sometimes while I was in Safety, before Garcia got walked off, I saw Officer
26 Klinger spending time with other incarcerated people in ways that were inappropriate. For
27 example, A                  R      L     was working in Safety and people knew that she was
28 romantically involved with Klinger. I would notice her sitting on his lap when I went to
     [4339213.1]                                 1
          DECLARATION OF J       B      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 safety, and at one point, I believe it was when I was in one of the warehouses, I saw her
 2 engaged in oral sex with him.
 3                 7.    During Covid, Officer Bellhouse used to knock on our window. I knew that
 4 he was soliciting women to flash him in exchange for hand sanitizer. When he knocked on
 5 our window, I did not want to engage with him and just ignored him. I hated the feeling of
 6 him going around like that.
 7                 8.    When I arrived at FCI Dublin in 2016, I do not believe we were shown a
 8 video about PREA. I think they did some type of orientation, but they did not give us any
 9 meaningful resources or tell people how to get help, and they never talked about that stuff
10 again after orientation. I remember that Warden Garcia started promoting PREA-
11 protection stuff likely crazy just before he got walked off; I thought that was crazy given
12 what he was doing with women at FCI Dublin.
13                 9.    As far as I know, staff at FCI Dublin have never worn body-worn cameras in
14 the facility and despite ongoing sexual abuse and assault at the facility staff still do not use
15 body-worn cameras. There are some cameras installed in fixed locations in the facility, but
16 it is well known that there are no cameras in certain areas, such as the warehouse or the
17 freezers in the kitchens or in some of the rec areas. I have been in those areas myself and
18 saw there were no cameras there. The cameras that are installed are enclosed in dark
19 colored glass and it is impossible to tell where they are pointing or whether they are
20 working. Sometimes I would hear from other people that officers had told them that
21 certain cameras were not working.
22                 10.   There is no effective way to confidentially report sexual assault and abuse by
23 staff at FCI Dublin. I did report what I saw between Mr. Garcia and Ms. H               to another
24 correctional officer. The officer I told knew about my subpoena for Mr. Garcia’s criminal
25 trial, and told me to not say anything. Other incarcerated people also told me to not say
26 anything. I had to move out of the unit I was in because both staff and other incarcerated
27 people were harassing me in regard to the subpoena. I was being ridiculed and having
28 papers and trash thrown at me.
     [4339213.1]                                 2
          DECLARATION OF J       B      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1                 11.   Initially, I wanted to go to a halfway house upon release, but I declined to go
 2 due to fears of more retaliation by the people running the facility; my experience at Dublin
 3 made me think that the next facility would be just as corrupt, and I would not be safe there.
 4 My faith that a correctional facility could keep me safe was shattered by FCI Dublin. I had
 5 no faith in any of that, so I decided to stick with what I knew.
 6                 12.   I spoke to the FBI/USAO about four times between late 2021 and early 2022.
 7 I believe it was all with respect to the Garcia trial, and I believe I was mostly asked about
 8 what was happening in the kitchen. Initially, I did not want to talk to anyone because
 9 people were already giving me a hard time. Once officers knew that someone was one of
10 the ones being called up to Lieutenant Putnam’s office, they would search your room and
11 give you a really hard time, or tell their inmate friends to treat you badly. In general, I
12 found that staff at FCI Dublin prevent people from reporting sexual assault and abuse by
13 staff and retaliate against people who do report.
14                 13.   When incarcerated persons report sexual assault and abuse by staff, FCI
15 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
16 delayed and overseen by staff who know and work with the offending staff member.
17 Generally nothing happens as a result. In my experience, you would report stuff and you
18 would never hear anything back about it. Eventually, Lieutenant Putnam did follow up
19 with me about the report I made, but it took a very long time.
20                 14.   There is no confidential mental health care available to survivors of sexual
21 abuse and assault at FCI Dublin. Toward the end of my time at FCI Dublin, I was able to
22 see a mental health clinician. I was sexually abused as a young child and this experience
23 has been incredibly retraumatizing. At the end of last year (or maybe the beginning of this
24 year), when I was still at FCI Dublin, I had something like a panic attack or mild heart
25 attack from all of the stress. I felt a sharp pain in my chest while I was in the lobby (which
26 is kind of like the dayroom). I have had these sharp pains before, but they usually go
27 away. This time, I went to the hot water room and then passed out. I woke up flopping
28 with my mouth open. Above me there were a bunch of correctional officers grilling me
     [4339213.1]                                 3
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 1 about why I fell down and if I had gotten into a fight. The officers then took me to the
 2 Lieutenant’s Office, not to medical. All I wanted to do was lie down. One of the officers
 3 asked if he should “strip me down.” Then the officers and the Lieutenant discussed looking
 4 at the cameras and confirming my age, which I did not understand. Eventually, I spoke to
 5 a nurse there, but I believe it was several weeks before I was seen by the medical staff. It
 6 used to take forever to be seen by medical at Dublin; your symptoms would resolve before
 7 you could ever be seen.
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    [4339213.1]                                 4
         DECLARATION OF J       B      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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